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                                                 22CV18523



   1

   2                        IN THE CIRCUIT COURT OF THE STATE OF OREGON
   3                               FOR THE COUNTY OF MULTNOMAH
   4
     K.G., an individual proceeding under a            )        Case No. 22CV18523
   5 pseudonym,                                        )
                                                       )        FIRST AMENDED COMPLAINT
   6                                                   )
                      Plaintiff,
                                                       )        Prayer: $620,000.00
   7                                                   )
              v.                                       )
   8                                                   )        Not Subject to Mandatory Arbitration
       STEPHEN L. HALL, an individual,                 )        Pursuant to ORS 36.400 to 36.425 et seq.
   9                                                   )
                      Defendant.                       )        Fee Authority: ORS 21.160(1)(c)
  10                                                   )
                                                       )        Request for Jury Trial
  11                                                   )
  12

  13
              FOR PLAINTIFF’S CLAIM FOR RELIEF HEREIN, Plaintiff alleges as follows:
  14
                                                           1.
  15
              Plaintiff K.G. (hereinafter referred to as “Plaintiff”), is a 31-year-old female appearing
  16
       through pseudonym. K.G. is a resident of the State of Oregon
  17
                                                           2.
  18
              At all times material, Defendant Stephen L. Hall (hereinafter referred to as “Defendant”),
  19
       an individual, was a resident of Lincoln County, Oregon and is currently a resident of the State
  20
       of Nevada.
  21
                                                           3.
  22
              In 2002, Plaintiff was in sixth grade, attending Newport Middle School. She turned 12
  23
       years old in 2002.
  24
                                                           4.
  25
              In 2002, Plaintiff would stay at her aunt, Nanette Hall’s, house a few times per week.
  26
     Defendant was married to Ms. Hall, and he was Plaintiff’s uncle by marriage. Defendant and Ms.
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                                                                                                  Exhibit 1
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  1 Hall assisted in caretaking for Plaintiff, whose biological father was absent from her childhood

  2 and whose mother was frequently disengaged from parenting Plaintiff.

  3          In 2002, Defendant was giving Plaintiff a back rub. During this back rub there were other

  4 people in the house, but Defendant and Plaintiff were alone in the room. During this back rub,

  5 Defendant reached around and put his hands on Plaintiff’s breasts. Plaintiff could feel his erect

  6 penis against her back. Defendant then said her name three times and told her she was growing

  7 up before removing his hands and leaving the room.

  8

  9                                   FIRST CLAIM FOR RELIEF

 10                                               Assault

 11                                                   5.

 12          Plaintiff incorporates by reference and realleges paragraphs 1 through 4 above.

 13                                                   6.

 14          Defendant intended to cause offensive contact with Plaintiff, when she was twelve, by

 15 reaching around to touch her breast and touching his penis against her back. Defendant then did

 16 touch Plaintiff’s breast and touch his penis to her back.

 17                                                   7.

 18          Plaintiff reasonably believed that this harmful and offensive contact would occur and

 19 would continue and escalate.

 20                                                   8.

 21          Defendant caused Plaintiff economic damages in an amount to be decided by a jury, but

 22 not to exceed $20,000.00.

 23                                                   9.

 24          Defendant caused Plaintiff non-economic damages in an amount to be decided by a jury,

 25 but not to exceed $600,000.00.

 26 //

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                                                                                            Exhibit 1
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  1                                  SECOND CLAIM FOR RELIEF

  2                                           Sexual Battery

  3                                                   10.

  4         Plaintiff incorporates by reference and realleges paragraphs 1 through 4 above.

  5                                                   11.

  6         Defendant intended to cause offensive contact with Plaintiff, when she was twelve, by

  7 reaching around to touch her breast and touching his penis against her back. Defendant then did

  8 touch Plaintiff’s breast and touch his penis to her back.

  9                                                   12.

 10         Defendant’s contact was inherently sexual because his intentional touchings involved

 11 Plaintiff’s and Defendant’s sexual or intimate body parts.

 12                                                   13.

 13         Plaintiff was too young to consent to Defendant’s sexual contact.

 14                                                   14.

 15         Defendant caused Plaintiff economic damages in an amount to be decided by a jury, but

 16 not to exceed $20,000.00.

 17                                                   15.

 18         Defendant caused Plaintiff non-economic damages in an amount to be decided by a jury,

 19 but not to exceed $600,000.00.

 20

 21                                              PRAYER

 22         WHEREFORE, Plaintiff prays for Judgment in her favor and against Defendant, as

 23 follows:

 24         a)      For economic damages in a sum which a jury determines to be reasonable,

 25                 but not to exceed the sum of $20,000.00;

 26         b)      For non-economic damages in a sum which a jury determines to be reasonable,

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                                                                                           Exhibit 1
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  1             but not to exceed the sum of $600,000.00;

  2      c)     For Plaintiff’s costs and disbursements incurred herein; and,

  3      d)     Any further relief the Court deems just and equitable.

  4

  5      DATED this 07th day of June, 2022.

  6

  7
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 10                                                  Attorney for Plaintiff

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                                                                                         Exhibit 1
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